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7
8                         UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11   ERIC WEBER and BRYAN REES,                   Case No. 2:17-cv-08868 GW (Ex)
12   individually and on behalf of all others
     similarly situated,
13                                                PLAINTIFF ERIC WEBER’S
                 Plaintiffs,                      SUPPLEMENTAL BRIEF IN
14
                                                  OPPOSITION TO AMAZON’S
     v.
15                                                MOTION TO COMPEL
     AMAZON.COM, INC. and AMAZON                  ARBITRATION AND DISMISS
16
     SERVICES LLC,                                CLAIMS
17
                 Defendants.                      Date:         June 4, 2018
18                                                Time:         8:30 a.m.
19                                                Courtroom:    9D
                                                  Judge:        Hon. George H. Wu
20                                                Trial Date:   None Set
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 1         For Amazon to prevail on its motion, the Court must draw multiple inferences in
 2 Amazon’s favor instead of Weber’s favor and adopt a new rule that shifts the burden of
 3 discovering modified contract terms to consumers. The Court should deny the motion.
 4 I.      Amazon’s withdrawal of its Amazon Prime-based arguments calls into
 5         question the veracity and reliability of Amazon’s self-serving evidence.
 6         In the Joint Statement of Stipulated Facts, Amazon said it is “no longer relying on
 7 Mr. Weber’s sign up with Amazon Prime as a basis to compel arbitration for purposes of
 8 this motion.” Dkt. 39 at 6. This is another example of Amazon withdrawing an argument
 9 it knew was not supported by evidence or it would have known was not supported by
10 evidence had it conducted a reasonable inquiry into its business records before filing its
11 motion. See Fed. R. Civ. Proc. 11 (factual contentions must have evidentiary support and
12 representations must be made after a reasonable inquiry).
13         Amazon’s motion relied heavily on the argument that Weber, like Grant McKee,
14 had inquiry notice of Amazon’s modified COU and arbitration clause because certain
15 undisclosed business records proved Weber (i) visited the Amazon Prime sign-up
16 webpage on October 26, 2017 using a computer or smartphone, and (ii) clicked or pressed
17 a button next to a disclosure of the Amazon Prime Terms (which incorporated Amazon’s
18 COU “as changed over time”). Dkt. 28. Weber challenged the fact of his sign-up (stating
19 he never intentionally signed up for Amazon Prime) and the reliability of Amazon’s
20 evidence (which conveniently was the same form of evidence the Court relied on to
21 dismiss McKee’s claims). Dkt. 30; Dkt. 30-1 ¶¶ 4-5. Amazon’s reply stood by its sworn
22 testimony, argued Weber was trying to “manufacture a factual dispute” where none
23 existed, and resisted discovery of its undisclosed business records. Dkt. 33.
24         After the Court ordered Amazon to engage in informal discovery Amazon
25 admitted that its business records showed Weber did not purchase Amazon Prime using
26 the sign-up webpages it submitted with its motion. Soderstrom Supp. Decl. ¶ 2. Contrary
27 to its sworn testimony, Amazon’s business records (which it still refused to produce)
28 showed that Weber somehow purchased Amazon Prime when setting up or using his new

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 1 Amazon “Fire TV Stick” on his television. Id. Weber did not know this was even
 2 possible, and he did not intentionally purchase Amazon Prime using his television. Weber
 3 Supp. Decl. ¶ 4; Dkt. 30-1 ¶ 5. Amazon withdrew its Amazon Prime-based arguments
 4 without explanation, thereby suggesting to the Court that it simply had greater confidence
 5 in its other arguments. Dkt. 39 at 6; Soderstrom Supp. Decl. ¶ 2.
 6         Amazon’s withdrawal of its Amazon Prime-based arguments shows a troubling
 7 pattern1 of filing motions, refusing to submit business records it swears were reviewed,
 8 resisting discovery, and withdrawing arguments with no evidentiary support. If Weber
 9 had not pushed for proof that documents supported Amazon’s sworn testimony, and if
10 the Court had not required Amazon to engage in informal discovery, Amazon likely
11 would have succeeded in dismissing Weber’s claims. See Dkt. 35 at 12-16. That is what
12 happened with McKee.2
13         Amazon’s motion should be denied because Amazon failed to meet its burden with
14 its motion and reply, and because its motion and reply were based largely on testimony
15 it would have known was false had it conducted a reasonable review of its business
16 records before filing the motion. Regardless, the Court should view Amazon’s self-
17 serving evidence with suspicion and it should not draw any inferences in Amazon’s favor.
18 See Three Valleys Mun. Water Dist. v. E.F. Hutton & Co., 925 F.2d 1136, 1141 (9th Cir.
19 1991) (“Before a party to a lawsuit can be ordered to arbitrate and thus be deprived of a
20   1
       The pattern started when Amazon testified that when it “updated its COUs in 2011, it
21   sent a notice to all Amazon account holders, including [McKee], to inform them of the
     change in terms and the addition of the arbitration provision.” Audible Case Dkt. 18-1 at
22   4-5. Amazon withdrew the argument when McKee argued no notice existed. Audible
23   Case Dkt. 22-1 at 6. It continued when Audible argued that Rogawski saw the same
     webpage that Seth Beals saw. Audible Case Dkt. 73 at 5-6. Audible later admitted that
24   Rogawski saw a webpage with different buttons and disclosures, and now argues such
     differences should not matter. There may be still other instances where no business
25   records were actually reviewed and/or support Amazon’s self-serving testimony.
26   2
       Amazon submitted a generic Amazon Prime sign-up webpage from 2017 without
     indicating what content was visible without scrolling, and then resisted McKee’s efforts
27   to obtain discovery concerning its 2012 webpages and his sign-up and purchase history.
     See Audible Case Dkt. 18 & 18-10. The Court’s ruling may have changed had Amazon
28   been required to produce the records its said supported its self-serving testimony.
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 1 day in court, there should be an express, unequivocal agreement to that effect” and the
 2 party opposing arbitration receives “the benefit of all reasonable doubts and inferences”
 3 as to whether an agreement to arbitrate was formed) (citations omitted).
 4 II.     There is no evidence that Weber pressed a button with a disclosure of
 5         Amazon’s COU next to it on any of the Agreed Purchase Dates.
 6         Amazon picked six “Agreed Purchase Dates” on which to base its argument that
 7 Weber had inquiry notice of and knowingly and unambiguously agreed to Amazon’s
 8 modified COU. See Dkt. 39. Amazon did not pick any dates prior to 2017 because the
 9 earlier versions of its webpages did not provide sufficient inquiry notice. See Dkt. 30-6.
10         Weber has rarely used Amazon’s desktop website to make purchases and there is
11 no evidence that Weber visited the desktop checkout webpage on any of the Agreed
12 Purchase Dates. Dkt. 39 ¶ 16 (Amazon’s records do not show which version of its website
13 Weber used). Weber makes most of his purchases using his smartphone. See Dkt. 30-1 ¶
14 4; Weber Supp. Decl. ¶ 2. The mobile and app versions of Amazon’s checkout webpages
15 are designed so the buttons consumers are most likely to press—the “Place your order”
16 buttons consumers see after reviewing their orders—have no disclosure of Amazon’s
17 COU next to them. Dkt. 39-17 (mobile version); Dkt. 39-18 (app version). This design
18 flaw is entirely within Amazon’s control and was pointed out more than a year ago. See
19 Audible Case Dkt. 21-18; Audible Case Dkt. 37 at 13 (nothing prevents Amazon from
20 carefully designing its website to ensure its disclosures are properly located and will
21 secure a consumer’s unambiguous assent). A disclosure placed next to a button that is
22 not pressed does not give reasonable notice and cannot secure informed consent.
23         Amazon hopes the Court will guess that Weber must have pressed a “Place your
24 order” button with a disclosure next to it on one of the Agreed Purchase Dates. But there
25 simply is no evidence that Weber ever did so, and doing so would have been contrary to
26 Weber’s habit of using his smartphone, scrolling down to review his order, and pressing
27 the button at the bottom of the webpage (the one with no disclosure next to it). Weber
28 Supp. Decl. ¶ 2. Amazon is not entitled to an inference that forgives its lack of evidence.

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 1         The Court should not guess in Amazon’s favor and relieve Amazon of the burden
 2 of proving the design of its website gave reasonable notice and secured Weber’s knowing
 3 and unambiguous consent to its modified COU. Three Valleys, 925 F.2d at 1141. Because
 4 there is no evidence that Weber pressed a “Place your order” button with a disclosure
 5 next to it on one of the Agreed Purchase Dates, the Court should deny the motion.
 6 III.    Amazon did not give Weber any notice of its modified COU.
 7         If the Court finds in Weber’s favor on the issues discussed above, it does not need
 8 to decide whether Weber has an affirmative obligation to inspect and agree to Amazon’s
 9 then-existing COU each time he visits Amazon.com. If the Court reaches this question,
10 it should still deny the motion because shifting the burden to Weber to discover the
11 modified COU is contrary to the rules of contract modifications, notice, and consent.3
12         Amazon wants the rule to be that a consumer who signs up for an account and
13 agrees to a specific version of its COU still has an obligation for the duration of the
14 contractual relationship to (i) press the generic COU hyperlink before completing each
15 purchase, (ii) inspect the COU to see if Amazon has unilaterally modified any terms
16 without notice (without giving consumers the means to identify any modifications or
17 compare COU versions), and (iii) decide whether to agree to any modified terms they
18 discover. Because no other court has shifted the burden of discovering unilateral contract
19 modifications to consumers, Amazon’s supplemental brief tries to distinguish case law
20 that supports Weber’s position but does not cite any case law that actually supports its
21 own argument that every visit to Amazon.com forms an entirely new contract.
22         Amazon does not have a contractual right to impose modified COU terms without
23 notice. The 2008 COU (the version both parties agree Weber is bound by) states simply:
24 “We reserve the right to make changes to our site, policies, and these Conditions of Use
25 at any time.” Dkt. 39-1 at 5. It also states that visiting or shopping at Amazon.com
26
     Because Amazon withdrew its Amazon Prime-based arguments, this case is in a
     3
27 significantly different posture than the Audible Case where the Court found McKee’s
   agreement to the Amazon Prime Terms constituted consent to Amazon’s COU “as
28 changed over time.” Audible Case Dkt. 37 at 17-18 n.7; see also Dkt. 35 at 1-2 n.1.

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 1 constitutes agreement to “the following conditions.” Dkt. 39-1 at 2. Nothing in the 2008
 2 COU (or any subsequent COU) gave Amazon a right to change the COU terms without
 3 notice or gave consumers an obligation to look for future changes. Weber’s reasonable
 4 contracting expectations, buttressed by Amazon’s duty of good faith and fair dealing,
 5 were that Amazon would notify him of any future COU changes and seek his consent.
 6 See, e.g., Plazza v. Airbnb, Inc., 2018 WL 583122, at *7-8 (S.D.N.Y. Jan. 26, 2018)
 7 (giving account holders affirmative notice of a modified COU and seeking their consent).
 8 Notice and informed consent is needed to ensure a “meeting of the minds” actually exists.
 9         Amazon is trying to sidestep contract modification rules by arguing that (i) every
10 visit or purchase is a new transaction that forms a new contract, and (ii) Amazon only
11 needs to provide its existing account holders with notice of the new contract terms for
12 each visit and purchase. This argument ignores the fact that Weber and other account
13 holders already agreed to specific COU terms and such terms covered future visits and
14 purchases. It also ignores Amazon’s own COU terms which have never permitted
15 Amazon to make changes without notice.
16         As explained in his Opposition, the thrust of existing case law favors Weber’s
17 position. Consumers, like employees, are entitled to affirmative notice of unilaterally
18 modified terms so they can provide (or withhold) their informed consent. The decision
19 in Douglas v. U.S. Dist. Ct., 495 F.3d 1062, 1066 (9th Cir. 2007), made clear that “even
20 if [the plaintiff] had visited the website, he would have had no reason to look at the
21 contract posted there. Parties to a contract have no obligation to check the terms on a
22 periodic basis to learn whether they have been changed by the other side.” Amazon is
23 wrong that the Douglas ruling was predicated on the plaintiff’s inaction. Like Weber, the
24 Douglas plaintiff had an ongoing contractual relationship based on specific terms, and
25 the court’s ruling was based on the basic requirement that companies must give notice of
26 unilaterally modified terms and secure consumers’ consent to the changed terms.
27         Amazon also misconstrues the other cases it cites. The decision in Rodman v.
28 Safeway Inc., 2015 WL 604985, at *10-11 (N.D. Cal. Feb. 12, 2015), was based on the

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 1 fact that “consumers cannot assent to terms that do not yet exist,” consumers “were never
 2 given notice that the Special Terms had been altered,” and assent to revised terms can
 3 only be inferred “after the customer received proper notice of the proposed changes.” Id.
 4 at *10-11 (emphasis added; internal marks omitted) (rejecting defendant’s attempt to
 5 contractually shift the burden of discovering changes to consumers). The decision in
 6 Sawyer v. Bill Me Later, Inc., 2010 WL 5289537, at *1-2 (C.D. Cal. Oct. 4, 2010), was
 7 based on the fact that the defendant sent the plaintiff a copy of the amended contract
 8 terms via email and the plaintiff clicked on and reviewed the terms “at least four times”
 9 before continuing to use his account. And the decision in Nevarez v. Forty Niners
10 Football Co., LLC, 2017 WL 3492110, at *8 (N.D. Cal. Aug. 15, 2017), did not involve
11 any issues of contract modification; it simply determined that the plaintiffs had sufficient
12 inquiry notice of the original terms.
13         None of the cases either party cites lets Amazon avoid contract modification and
14 notice requirements. The Court should not shift the burden of discovering Amazon’s
15 unilaterally modified COU to Weber or other existing account holders who already
16 agreed to COU terms that covered future visits and purchases. The Court should deny the
17 motion because Amazon’s generic disclosure and COU hyperlink never gave Weber
18 notice of the modified COU and the new arbitration clause.
19 IV.     The Court should not infer from Weber’s participation in this case that he
20         now has actual knowledge of Amazon’s arbitration clause (he does not).
21         Weber’s March 8, 2018 declaration stated truthfully that he did not know Amazon
22 changed its COU since the 2008 version and that he had “never seen or agreed to any
23 contract terms that required [him] to arbitrate any claims.” Dkt. 30-1 ¶ 3. His testimony
24 remains the same: he still has no knowledge of any changes Amazon has made to its 2008
25 COU. Weber Supp. Decl. ¶ 3. Nothing Amazon points to can change these facts.
26         Amazon has never given Weber actual knowledge of its modified COU and
27 arbitration clause (e.g., by sending him an actual copy of its current COU). Moreover,
28 Weber’s counsel was not required to (and did not) give Weber actual knowledge of

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 1 Amazon’s modified COUs simply because Amazon filed a motion to compel arbitration
 2 based on its modified COUs. Amazon cannot sidestep the requirements of contract law
 3 by suggesting that simply filing a motion to compel arbitration and serving it on Weber’s
 4 counsel gave Weber notice of its modified COUs and new arbitration clause.
 5         Amazon hopes the Court will disregard Weber’s testimony and infer (incorrectly)
 6 that Weber must have gained actual knowledge of Amazon’s modified COU and
 7 arbitration clause through his participation in this case. At a minimum, Amazon hopes
 8 the Court will shift Amazon’s burden to Weber and hold that, if Weber wanted to remain
 9 an Amazon customer after he filed this lawsuit, Weber had an obligation to find and
10 review Amazon’s modified COU when he learned that Amazon had filed a motion to
11 compel arbitration and served it on his counsel (not on him).
12         The Court should not draw any inferences in Amazon’s favor and assume that
13 Weber has now gained actual knowledge of Amazon’s modified COU and arbitration
14 clause simply because his prior testimony was phrased in the past tense. Nor should the
15 Court hold that, by filing its motion, Amazon was relieved of its burden to give Weber
16 notice of its arbitration clause and secure his unambiguous consent and Weber was
17 obligated to find and review Amazon’s modified COU before making any new purchases.
18         If Amazon had fixed the flaws in its website after March 8, 2018, sent a notice of
19 its modified COU, and required Weber to consent to its modified COU and arbitration
20 clause in order to remain a customer, its argument may have merit (assuming compliance
21 with Federal Rule of Civil Procedure 23(d), of course). See Applebaum v. Lyft, Inc., 263
22 F. Supp. 3d 454, 458-63, 469-70 (S.D.N.Y. June 26, 2017). On these facts, however,
23 Amazon is not entitled to have any inferences drawn in its favor that would impute to
24 Weber knowledge of Amazon’s modified COUs and arbitration clause where such
25 knowledge does not actually exist. The Court should not let Amazon sidestep its burdens
26 of proof and grant the motion simply because Weber is still an Amazon customer.
27 Dated: May 11, 2018                     SODERSTROM LAW PC
                                           By: /s/ Jamin S. Soderstrom
28                                             Jamin S. Soderstrom
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1                             CERTIFICATE OF SERVICE
2        The undersigned certifies that on, May 11, 2018, I caused the foregoing document
3 to be served on all counsel of record by the Court’s CM/ECF electronic filing system.
4
5                                        By: /s/ Jamin S. Soderstrom
6                                            Jamin S. Soderstrom
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